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                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 IN RE: COOK MEDICAL, INC., IVC FILTERS
                                                          Case No. 1:14-ml-2570-RLY-TAB
 MARKETING, SALES PRACTICES AND
                                                                            MDL No. 2570
 PRODUCTS LIABILITY LITIGATION

 This Document Relates to Plaintiff:
 DEBRA NEELY
 Civil Case # 1:21-cv-6393



                   MOTION TO SUBSTITUTE PARTY PLAINTIFF


       COMES NOW, Plaintiff Debra Neely and files this motion to substitute her surviving

sister, Diane Myers, as the proper plaintiff pursuant to Federal Rule of Civil Procedure 25(a)(1). In

support therefore, Plaintiff respectfully shows the court the following:

       1. Plaintiff Debra Neely filed the present action in the United States District Court of the

           Eastern District of Michigan on March 11, 2021.

       2. The present action was transferred to the United States District Court for the Southern

           District of Indiana on April 14, 2021. See Doc. No. 7.

       3. Plaintiff Debra Neely died on April 15, 2022.

       4. On July 12, 2023, Plaintiff filed a suggestion of death pursuant to Federal Rule of Civil

           Procedure 25(a). See Doc. No. 24625 and Doc. No. 14. Plaintiff’s counsel recently

           learned of the death of Ms. Neely after filing the lawsuit and contacting her sister.

       5. Diane Myers, sole surviving sibling of Debra Neely, is the proper party plaintiff to

           substitute for Plaintiff-decedent Debra Neely and has proper capacity to proceed

           forward with the surviving products liability lawsuit on Plaintiff-decedent’s behalf,




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           pursuant to Fed. R. Civ. P. 25(a)(1), stating, “[i]f a party dies and the claim is not

           extinguished, the court may order substitution of the proper party. A motion for

           substitution may be made by any party or by the decedent’s successor or

           representative.”


       WHEREFORE, counsel for Plaintiff requests this Court grant this motion to substitute

Diane Myers, on behalf of Decedent Debra Neely, as the proper party plaintiff in this action.


Respectfully submitted July 12, 2023.


                                                               /s/ David M. Langevin______
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                                 CERTIFICATE OF SERVICE
       I hereby certify that a true copy of the attached document was served upon each attorney

of record through the Court’s Electronic Court Filing System.


Dated: July 12, 2023
                                                   /s/ David M. Langevin
                                                    David M. Langevin




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